    Case 19-10782      Doc 221    Filed 08/21/20 Entered 08/21/20 13:23:44        Desc Main
                                   Document     Page 1 of 1




                          UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF MASSACHUSETTS

  In re:
  ANDREW GREENHUT,                               Ch. 13
    Debtor                                       19-10782-JEB


                             Proceeding Memorandum and Order

MATTER:
#187 Motion filed by Debtor Andrew Greenhut for Sanctions Under USC 28 Section 1927

Decision set forth more fully as follows:
Hearing held on August 20, 2020. For the reasons set forth on the record, the Motion is denied.

                                                 By the Court,




                                                 Janet E. Bostwick
                                                 United States Bankruptcy Judge

                                                 Dated: 8/21/2020
